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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    MARK S. ZAID, ESQ.

                Plaintiff,
                                                      Civil Action No.: 1:25-cv-1365-AHA
         v.
                                                      HEARING REQUESTED
    EXECUTIVE OFFICE OF THE
    PRESIDENT, et al.

                Defendants.



        PLAINTIFF MARK ZAID’S MOTION FOR PRELIMINARY INJUNCTION

        Pursuant to Rule 65 of the Federal Rules of Civil Procedure and Local Civil Rule 65.1(c),

Plaintiff Mark S. Zaid, Esq., by and through his attorneys, hereby moves for a preliminary

injunction against the Defendants. Pursuant to Local Civil Rule 65.1(d), Mr. Zaid also requests a

hearing on his application for a preliminary injunction no later than 21 days after this filing.

        Plaintiff notes that service was effected on the United States Attorney’s Office for the

District of Columbia on May 6, 2025. 1 See ECF No. 8. Undersigned counsel made two attempts

to contact leadership from the United States Attorney’s Office for the District of Columbia and

from the Department of Justice’s Federal Programs Branch to alert them to this filing and discuss

its attendant briefing schedule and have not yet received a response.

        A memorandum of law, Mr. Zaid’s supporting declaration, an accompanying client

declaration, an expert report, and a proposed Order are attached hereto.




1
 E-mailed delivery of the summons referenced at ECF No. 8 was coupled with service via certified
mail in accordance with Fed. R. Civ. P. 4(i). Undersigned counsel is awaiting the return receipts.
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Dated: May 21, 2025                                Respectfully Submitted,


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